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        EXHIBIT 3
                      Case 20-10343-LSS           Doc 1279-3       Filed 09/08/20      Page 2 of 9


Goodman, Eric R.

From:                Schiavoni, Tancred <tschiavoni@omm.com>
Sent:                Saturday, September 5, 2020 3:36 PM
To:                  Goodman, Eric R.; Kirschenbaum, Andrew; James Stang; Rob Orgel; John A. Morris; John W. Lucas;
                     Linda Cantor; 'joneill@pszjlaw.com'; Mason, Richard G.; Mayer, Douglas K.; Celentino, Joseph C.;
                     Ringer, Rachael; Sharret, Jennifer; Wasson, Megan; Harron, Edwin; Zieg, Sharon;
                     bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us; Taylor.Meehan@clydeco.us; Gummow,
                     Susan; Shleypak, Igor; Smethurst, Ryan; Warner, Margaret; msorem@nicolaidesllp.com; Wadley, Chris;
                     'stamoulis@swdelaw.com'; Ruggeri, James P.; Williams, Abigail W.; Weinberg, Joshua D.; Gooding,
                     Doug; Marshall, Jonathan D.; 'KMarrkand@mintz.com'; TJacobs@bradleyriley.com; John E. Bucheit;
                     David M. Caves; Winsberg, Harris B.; Lorraine Armenti; Strubeck, Louis; 'Gluck, Kristian W.'; Smith,
                     Laura; Brady, Robert; Mielke, Allison S.; Kochenash, Jared W.; mhrinewski@coughlinduffy.com;
                     craig.goldblatt@wilmerhale.com; Seligman, Gary; Criss, Ashley; Beville, Sunni P.; Axelrod, Tristan G.;
                     support@ava.law; Tim@Kosnoff.Com; Molton, David J.; Boelter, Jessica C.K.; Andolina, Michael C.;
                     Labuda, Jr., Thomas; DAbbott@mnat.com; Martin, Ernest; Azer, Adrian; Tarr@BlankRome.com;
                     david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Cc:                  Stamatios Stamoulis; Rachel B. Mersky; Schiavoni, Tancred
Subject:             RE: Notice of Deposition of Andrew Van Arsdale and Timothy Kosnoff
Attachments:         OMM_US-#78982337-v4-BSA_Amended_Deposition_Notice_for_Van_Arsdale.pdf; OMM_US-#
                     78983801-v3-BSA_Amended_Deposition_Notice_for_Kosnoff.pdf


External E-mail. Use caution accessing links or attachments.

Eric

After exchanging an email with you about this, we amended the deposition notices for your clients to make
clear that they are noticed as fact witnesses in connection with the contested matters that are the subject of the
hearing on September 9. I attach copies of amended notices. We can have a court reporter present on
Tuesday at the locations where Tim and Andrew will appear or can have the court reporter on zoom. Please
let us know their preference in this regard.

We were only provided with documents late Friday by the Coilation, as you know.

Thank you.

From: Goodman, Eric R. <EGoodman@brownrudnick.com>
Sent: Saturday, September 5, 2020 11:19 AM
To: Kirschenbaum, Andrew <akirschenbaum@omm.com>; James Stang <jstang@pszjlaw.com>; Rob Orgel
<rorgel@pszjlaw.com>; John A. Morris <jmorris@pszjlaw.com>; John W. Lucas <jlucas@pszjlaw.com>; Linda Cantor
<lcantor@pszjlaw.com>; 'joneill@pszjlaw.com' <joneill@pszjlaw.com>; Mason, Richard G. <RGMason@WLRK.com>;
Mayer, Douglas K. <DKMayer@WLRK.com>; Celentino, Joseph C. <JCCelentino@wlrk.com>; Ringer, Rachael
<RRinger@KRAMERLEVIN.com>; Sharret, Jennifer <JSharret@KRAMERLEVIN.com>; Wasson, Megan
<MWasson@KRAMERLEVIN.com>; Harron, Edwin <eharron@ycst.com>; Zieg, Sharon <SZIEG@ycst.com>;
bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us; Taylor.Meehan@clydeco.us; Gummow, Susan
<sgummow@fgppr.com>; Shleypak, Igor <ishleypak@fgppr.com>; Smethurst, Ryan <rsmethurst@mwe.com>; Warner,
Margaret <mwarner@mwe.com>; msorem@nicolaidesllp.com; Schiavoni, Tancred <tschiavoni@omm.com>; Wadley,
Chris <cwadley@wwmlawyers.com>; 'stamoulis@swdelaw.com' <stamoulis@swdelaw.com>; Ruggeri, James P.
<JRuggeri@goodwin.com>; Williams, Abigail W. <AWilliams@goodwin.com>; Weinberg, Joshua D.
<JWeinberg@goodwin.com>; Gooding, Doug <dgooding@choate.com>; Marshall, Jonathan D.
<jmarshall@choate.com>; 'KMarrkand@mintz.com' <KMarrkand@mintz.com>; TJacobs@bradleyriley.com; John E.
                                                               1
                           Case 20-10343-LSS   Doc 1279-3      Filed 09/08/20      Page 3 of 9

Bucheit <jbucheit@bradleyriley.com>; David M. Caves <dcaves@bradleyriley.com>; Winsberg, Harris B.
<harris.winsberg@troutman.com>; Lorraine Armenti <LArmenti@coughlinduffy.com>; Strubeck, Louis
<louis.strubeck@nortonrosefulbright.com>; 'Gluck, Kristian W.' <kristian.gluck@nortonrosefulbright.com>; Smith, Laura
<laura.smith@nortonrosefulbright.com>; Brady, Robert <RBRADY@ycst.com>; Mielke, Allison S. <AMielke@ycst.com>;
Kochenash, Jared W. <JKochenash@ycst.com>; mhrinewski@coughlinduffy.com; craig.goldblatt@wilmerhale.com;
Seligman, Gary <GSeligman@wiley.law>; Criss, Ashley <ACriss@wiley.law>; Beville, Sunni P.
<SBeville@brownrudnick.com>; Axelrod, Tristan G. <TAxelrod@brownrudnick.com>; support@ava.law;
Tim@Kosnoff.Com; Molton, David J. <DMolton@brownrudnick.com>; Boelter, Jessica C.K. <jboelter@sidley.com>;
Andolina, Michael C. <mandolina@sidley.com>; Labuda, Jr., Thomas <tlabuda@sidley.com>; DAbbott@mnat.com;
Martin, Ernest <Ernest.Martin@haynesboone.com>; Azer, Adrian <Adrian.Azer@haynesboone.com>;
Tarr@BlankRome.com; david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Cc: Schiavoni, Tancred <tschiavoni@omm.com>; Stamatios Stamoulis <stamoulis@swdelaw.com>; Rachel B. Mersky
<rmersky@monlaw.com>
Subject: RE: Notice of Deposition of Timothy Kosnoff


[EXTERNAL MESSAGE]



Mr. Schiavoni,

We are in receipt of the Notices of Depositions of two of the personal injury counsel sent out late
yesterday. We did not receive a copy of any exhibits identifying the areas the proposed depositions are
intended to address or what pending matter(s) they are related to. We do not know if this was an error or if
there was a reason this was omitted. We also are surprised by the last minute timing of a Friday late afternoon
before a holiday weekend filing a Notice of Deposition for a deposition on the next business day.

We have no interest in interfering with any legitimate process or in causing any delay. We leave it to the
individual deponents to address the timing and propriety of the Notices and issues they may have concerning
scope. However, in order to address the Coalition’s interests we need confirmation of the intended scope and
which pending motions/adversaries the depositions are intended to be related to. We also preserve any issues
related to privilege between the Deponents and the Coalition and its counsel.

We note that the Deponents are counsel to some of the Coalition members and as such there may be privilege
issues that could arise during the deposition. Once we are provided with the intended scope of the proposed
depositions and the pleadings they relate to we may be able to resolve any issues before they arise and save
time and avoid any unnecessary judicial involvement.

Best Regards,
Eric



Eric R. Goodman
Partner

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601 Thirteenth Street NW Suite 600
Washington, DC 20005
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M: 216.235.4242
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                                                          2
                              Case 20-10343-LSS                       Doc 1279-3          Filed 09/08/20   Page 4 of 9

From: Kirschenbaum, Andrew <akirschenbaum@omm.com>
Sent: Friday, September 4, 2020 4:27 PM
To: James Stang <jstang@pszjlaw.com>; Rob Orgel <rorgel@pszjlaw.com>; John A. Morris <jmorris@pszjlaw.com>; John
W. Lucas <jlucas@pszjlaw.com>; Linda Cantor <lcantor@pszjlaw.com>; 'joneill@pszjlaw.com' <joneill@pszjlaw.com>;
Mason, Richard G. <RGMason@WLRK.com>; Mayer, Douglas K. <DKMayer@WLRK.com>; Celentino, Joseph C.
<JCCelentino@wlrk.com>; Ringer, Rachael <RRinger@KRAMERLEVIN.com>; Sharret, Jennifer
<JSharret@KRAMERLEVIN.com>; Wasson, Megan <MWasson@KRAMERLEVIN.com>; Harron, Edwin
<eharron@ycst.com>; Zieg, Sharon <SZIEG@ycst.com>; bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us;
Taylor.Meehan@clydeco.us; Gummow, Susan <sgummow@fgppr.com>; Shleypak, Igor <ishleypak@fgppr.com>;
Smethurst, Ryan <rsmethurst@mwe.com>; Warner, Margaret <mwarner@mwe.com>; msorem@nicolaidesllp.com;
Schiavoni, Tancred <tschiavoni@omm.com>; Kirschenbaum, Andrew <akirschenbaum@omm.com>; Wadley, Chris
<cwadley@wwmlawyers.com>; 'stamoulis@swdelaw.com' <stamoulis@swdelaw.com>; Ruggeri, James P.
<JRuggeri@goodwin.com>; Williams, Abigail W. <AWilliams@goodwin.com>; Weinberg, Joshua D.
<JWeinberg@goodwin.com>; Gooding, Doug <dgooding@choate.com>; Marshall, Jonathan D.
<jmarshall@choate.com>; 'KMarrkand@mintz.com' <KMarrkand@mintz.com>; TJacobs@bradleyriley.com; John E.
Bucheit <jbucheit@bradleyriley.com>; David M. Caves <dcaves@bradleyriley.com>; Winsberg, Harris B.
<harris.winsberg@troutman.com>; Lorraine Armenti <LArmenti@coughlinduffy.com>; Strubeck, Louis
<louis.strubeck@nortonrosefulbright.com>; 'Gluck, Kristian W.' <kristian.gluck@nortonrosefulbright.com>; Smith, Laura
<laura.smith@nortonrosefulbright.com>; Brady, Robert <RBRADY@ycst.com>; Mielke, Allison S. <AMielke@ycst.com>;
Kochenash, Jared W. <JKochenash@ycst.com>; mhrinewski@coughlinduffy.com; craig.goldblatt@wilmerhale.com;
Seligman, Gary <GSeligman@wiley.law>; Criss, Ashley <ACriss@wiley.law>; Beville, Sunni P.
<SBeville@brownrudnick.com>; Axelrod, Tristan G. <TAxelrod@brownrudnick.com>; support@ava.law;
Tim@Kosnoff.Com; Molton, David J. <DMolton@brownrudnick.com>; Boelter, Jessica C.K. <jboelter@sidley.com>;
Andolina, Michael C. <mandolina@sidley.com>; Labuda, Jr., Thomas <tlabuda@sidley.com>; DAbbott@mnat.com;
Martin, Ernest <Ernest.Martin@haynesboone.com>; Azer, Adrian <Adrian.Azer@haynesboone.com>;
Tarr@BlankRome.com; david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Cc: Schiavoni, Tancred <tschiavoni@omm.com>; Stamatios Stamoulis <stamoulis@swdelaw.com>
Subject: Notice of Deposition of Timothy Kosnoff

External E-mail. Use caution accessing links or attachments.

Please see the attached deposition notice for Mr. Kosnoff on Tuesday, Sept. 8, 2020 at 3:00 p.m. ET.

O’Melveny
Andrew L. Kirschenbaum
Associate
akirschenbaum@omm.com
O: +1-212-728-5878

O’Melveny & Myers LLP
Times Square Tower
7 Times Square
New York, NY 10036
Website | LinkedIn | Twitter
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this transmission in error, please notify the sender immediately by reply e-mail and then delete this message.




***********************************************************************************




                                                                                      3
                              Case 20-10343-LSS                       Doc 1279-3          Filed 09/08/20     Page 5 of 9
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the individual or entity named above. If the recipient of this message is not the above-named intended recipient, you are hereby notified that any
dissemination, copy or disclosure of this communication is strictly prohibited. If you have received this communication in error, please notify Brown
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or distribution.

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you have provided to us in this and other communications between us, please see our privacy statement and summary here which sets out details of the
data controller, the personal data we have collected, the purposes for which we use it (including any legitimate interests on which we rely), the persons
to whom we may transfer the data and how we intend to transfer it outside the European Economic Area.

***********************************************************************************




                                                                                      4
                 Case 20-10343-LSS         Doc 1279-3       Filed 09/08/20      Page 6 of 9




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11

                                                      Case No. 20-10343 (LSS)

    BOY SCOUTS OF AMERICA AND                         Jointly Administered
    DELAWARE Boy Scouts, LLC,1


                                Debtors.


                          AMENDED NOTICE OF ORAL DEPOSITION

             PLEASE TAKE NOTICE that Century Indemnity Company (“Century”), by and

through its undersigned counsel, will take the deposition upon oral examination of Andrew Van

Arsdale pursuant to the Federal Rules of Bankruptcy Procedure.

             PLEASE TAKE FURTHER NOTICE that depositions shall take place before an

officer authorized by law to administer oaths, via virtual platform at the designated time and

place, and continuing thereafter until completed:

             DATE:                September 8, 2020
             TIME:                1:00 p.m. EST
             ACCESS LINK:
             https://omm.zoom.us/j/91449472496?pwd=UmZ0eWV4UHBwNGU5ZVdXTmh1dVlSU
             T09
             CALL IN:             (877) 853-5257
             MEETING ID:           914 4947 2496
             PASSCODE:             153985

     The deposition will take place before a person duly authorized to administer oaths, and may be

     recorded by stenographic, audiographic and videotaped means. Please take notice that the


1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
      (4311). The Debtors’ mailing address is 1325 West Walnut Lane, Irving, Texas 75038.
            Case 20-10343-LSS        Doc 1279-3      Filed 09/08/20     Page 7 of 9




  court reporter may also participate remotely via the internet and/or telephone for the purposes

  of reporting the proceeding and may or may not be in the presence of the deponent.

Dated: As amend September 5, 2020,
       but issued September 4, 2020
       New York, New York
                                              Respectfully Submitted,


                                         By: /s/ Stamatios Stamoulis
                                             Stamatios Stamoulis (#4606)

                                              STAMOULIS & WEINBLATT LLC
                                              800 N. West Street
                                              Third Floor
                                              Wilmington, Delaware 19801
                                              Telephone: 302 999 1540
                                              Facsimile: 302 762 1688

                                              O’MELVENY & MYERS LLP
                                              Tancred Schiavoni (pro hac vice)
                                              Janine Panchok-Berry (pro hac vice)
                                              Times Square Tower
                                              7 Times Square
                                              New York, New York 10036-6537
                                              Telephone: 212 326 2000
                                              Facsimile: 212 326 2061

                                              Counsel for Century Indemnity Company, as
                                              successor to CCI Insurance Company, as
                                              successor to Insurance Company of North
                                              America and Indemnity Insurance Company of
                                              North America, Westchester Fire Insurance
                                              Company and Westchester Surplus Lines
                                              Insurance Company
                Case 20-10343-LSS          Doc 1279-3       Filed 09/08/20      Page 8 of 9




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11

                                                      Case No. 20-10343 (LSS)

    BOY SCOUTS OF AMERICA AND                         Jointly Administered
    DELAWARE Boy Scouts, LLC,1


                                Debtors.


                          AMENDED NOTICE OF ORAL DEPOSITION

              PLEASE TAKE NOTICE that Century Indemnity Company (“Century”), by and

     through its undersigned counsel, will take the deposition upon oral examination of Timothy

     Kosnoff pursuant to the Federal Rules of Bankruptcy Procedure.

              PLEASE TAKE FURTHER NOTICE that depositions shall take place before an

     officer authorized by law to administer oaths, via virtual platform at the designated time and

     place, as agreed to by the parties, and continuing thereafter until completed:

             DATE:                September 8, 2020
             TIME:                3:00 p.m. EST
             ACCESS LINK:
             https://omm.zoom.us/j/91449472496?pwd=UmZ0eWV4UHBwNGU5ZVdXTmh1dVlSU
             T09
             CALL IN:             (877) 853-5257
             MEETING ID:           914 4947 2496
             PASSCODE:             153985




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
      (4311). The Debtors’ mailing address is 1325 West Walnut Lane, Irving, Texas 75038.
            Case 20-10343-LSS        Doc 1279-3      Filed 09/08/20     Page 9 of 9




  The deposition will take place before a person duly authorized to administer oaths, and may be

  recorded by stenographic, audiographic and videotaped means. Please take notice that the

  court reporter may also participate remotely via the internet and/or telephone for the purposes

  of reporting the proceeding and may or may not be in the presence of the deponent.

Dated: As amend September 5, 2020,
       but issued September 4, 2020
       New York, New York
                                              Respectfully Submitted,


                                         By: /s/ Stamatios Stamoulis
                                             Stamatios Stamoulis (#4606)

                                              STAMOULIS & WEINBLATT LLC
                                              800 N. West Street
                                              Third Floor
                                              Wilmington, Delaware 19801
                                              Telephone: 302 999 1540
                                              Facsimile: 302 762 1688

                                              O’MELVENY & MYERS LLP
                                              Tancred Schiavoni (pro hac vice)
                                              Janine Panchok-Berry (pro hac vice)
                                              Times Square Tower
                                              7 Times Square
                                              New York, New York 10036-6537
                                              Telephone: 212 326 2000
                                              Facsimile: 212 326 2061

                                              Counsel for Century Indemnity Company, as
                                              successor to CCI Insurance Company, as
                                              successor to Insurance Company of North
                                              America and Indemnity Insurance Company of
                                              North America, Westchester Fire Insurance
                                              Company and Westchester Surplus Lines
                                              Insurance Company
